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Jeffrey F. Mangeno

January 29, 2021

Clerk of Court

United States Bankruptcy Court
Northern District of Texas

Earle Cabell Federal Building

1100 Commerce Street, Room 1254
Datlas, TX 75242-1496

 

RE: Case 21-30085-hdh11 Creditor List

Dear Clerk:

Please be advised that our firm represents the Virginia company of Under Wild Skies (“UWS”).
UWS has been identified as a creditor of the National Rifle Association in the above referenced Chapter
11 bankruptcy petition. However, the address listed in the creditor matrix is not an addressed used by
UWS. We would request that the creditor contact for UWS be corrected to that of its Registered Agent:
Mark R. Dycio
Dycio & Biggs, PC

10533 Main Street
Fairfax, VA 22030

Please let us know if there is any other information you require. Thank you for your assistance

in this matter.

Regards,
fo Y

John Spurlock-Brown, Esq.
